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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

STATE OF NEW JERSEY, et al.,
Case No.: 1:25-cv-10139

Plaintiffs,
Honorable Leo T. Sorokin
DONALD J. TRUMP, in his official capacity as

President of the United States, et al.,

Defendants.

MOTION FOR LEAVE TO FILE BRIEF OF
AMICI CURIAE LOCAL GOVERNMENTS AND LOCAL GOVERNMENT OFFICIALS
IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

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Proposed Amici Curiae Local Governments and Local Government Officials move for
leave to file an amicus brief in support of Plaintiffs’ motion for preliminary injunction. In
furtherance of the motion, proposed amici state as follows:

1. Proposed amici are local governments and local government officials representing

72 jurisdictions across 24 states.

2. They support Plaintiffs’ motion for preliminary injunction because they, too, will
be harmed by the Executive Order that is the subject of Plaintiffs’ lawsuit.

3. The Court has authority to grant amicus status within its “sound discretion.”
Strasser v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970); see also Portland Pipe Line Corp. v. City
of S. Portland, No. 2:15-CV-00054-JAW, 2017 WL 79948, at *4 (D. Me. Jan. 9, 2017) (granting
leave to file amicus brief in a case involving municipal ordinance because the amicus briefs
“represent third parties whose particular interests may be affected by the Court’s ruling and whose
particular interests are echoed in broader public interests”).

4. The proposed brief will assist the Court in its consideration of the pending motion,
because local governments face immediate harms from the Order that overlap yet are distinct from
the harms individuals, organizations, and states must confront.

5. Among other things, local governments must manage the administrative confusion
that the Order will create. Because many local governments issue birth certificates, they will need
to develop new systems to ascertain the citizenship of children born in their local hospitals and
within city or county lines.

6. The Order also forces proposed amici to develop new protocols for any programs
requiring citizenship verification, because traditional birth certificates will no longer suffice as

proof of citizenship. Local communities will also contend with the personal impact to their
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community members, such as restrictions on federally funded health care coverage, child services,

and educational benefits.

7. Counsel for proposed amici have conferred with counsel for the parties. Plaintiffs

and Defendants both consent to the request for leave to file.

8. A true and correct copy of the proposed brief has been submitted with this motion.
CONCLUSION

For the foregoing reasons, Proposed Local Government Amici respectfully request the

Court grant the motion for leave to file the attached brief.

Respectfully submitted,

/s/ Jonathan B. Miller

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Dated: January 28, 2025
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CERTIFICATION OF SERVICE

I hereby certify that a copy of the foregoing was this day served on all counsel via the
court’s electronic service system.

/s/ Jonathan B. Miller
Jonathan B. Miller (BBO#663012)
Public Rights Project

Dated: January 28, 2025
